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NAME, ADDRESS & TELEPHONE NUMBER OF ATTORNEY(S) OR PRO PER
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

Alejandro Odeh-Lara, CASE NUMBER:
CV 19-2446-KS
Plaintiff(s)
V.
Synchrony Bank, STATEMENT OF CONSENT TO PROCEED
BEFORE A UNITED STATES MAGISTRATE JUDGE
(For use in Direct Assignment of Civil Cases to Magistrate
Defendant(s). Judges Program Only)

 

 

(THIS FORM SHALL BE USED ONLY FOR CASES IN WHICH A MAGISTRATE JUDGE IS INITIALLY
ASSIGNED PURSUANT TO LOCAL RULE 73-2.)

 

In accordance with General Order 12-02 and Local Rule 73-2 the above-captioned civil matter has been randomly

assigned to Magistrate Judge KAREN L. STEVENSON . All parties to the above-captioned civil

 

matter are to select one of the following two options and file this document with the Clerk's Office.

Cc The party or parties listed below to the above-captioned civil matter consent pursuant to the provisions of 28
U.S.C. § 636(C) and F.R.Civ.P. 73(b), to have the assigned Magistrate Judge conduct all further proceedings in
this case, including trial and entry of final judgment.

Any appeal from a judgment of the assigned Magistrate Judge shall be taken to the United States Court of Appeals
in the same manner as an appeal from any other judgment of the District Court in accordance with 28 U.S.C.
§ 636(c)(3).

The party or parties listed below to the above-captioned civil matter do not consent to proceed before the
assigned Magistrate Judge.

The party or parties listed below acknowledge that they are free to withhold consent without adverse substantive

consequences.
Name of Counsel (OR Party if Pro Per) Signature and date Counsel for (Name of Party or Parties)
Brian Brazier /s/ Brian Brazier, May 6, 2019 Plaintiff Alejandro Odeh-Lara

 

 

 

 

NOTICE TO COUNSEL FROM CLERK:
All parties having consented to proceed before the assigned Magistrate Judge, this case will remain assigned to United

States Magistrate Judge for all further proceedings.

 

 

CV-11C (05/14) STATEMENT OF CONSENT TO PROCEED BEFORE A UNITED STATES MAGISTRATE JUDGE
(For use in Direct Assignment of Civil Cases to Magistrate Judges Program only)
